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 1                                                      THE HONORABLE JAMES L. ROBART

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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   ANNA PATRICK, ET AL., individually and            Case No. 2:21-cv-01378-BJR
     on behalf of all others similarly situated,
10                                                     [PROPOSED] ORDER GRANTING
                                   Plaintiffs,         DEFENDANT HAPPY HOUR MEDIA
11                                                     GROUP, LLC’S MOTION TO DISMISS
            v.                                         THE COMPLAINT
12
     DAVID L. RAMSEY, III, individually;
13   HAPPY HOUR MEDIA GROUP, LLC, a                    NOTE OF MOTION CALENDAR:
     Washington limited liability company; THE         October 27, 2023
14   LAMPO GROUP, LLC, a Tennessee limited
     liability company,                                (Clerk’s Action Required)
15
                                   Defendants.
16

17

18          THIS MATTER, having come on for hearing before the undersigned Judge of the above-

19   entitled Court on Defendant Happy Hour Media Group, LLC’s Motion to Dismiss, and the Court

20   having considered the following submissions:

21          1.      Defendant’s Motion to Dismiss;

22          2.      Supportive Declaration of Jack Lovejoy;

23          3.      Plaintiff’s Response and Supportive Documents (if any);

24          4.      Defendant’s Reply (if any); and

25


        [PROPOSED] ORDER GRANTING HAPPY HOUR                                       CORR CRONIN LLP
        MEDIA GROUP, LLC’S MOTION TO DISMISS - 1                              1015 Second Avenue, 10th Floor
                                                                                Seattle, Washington 98104
                                                                                    Tel (206) 625-8600
                                                                                    Fax (206) 625-0900
            Case 2:23-cv-00630-JLR Document 32-1 Filed 10/05/23 Page 2 of 3




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            5.       ________________________________________________________.
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            And the files and records herein, and deeming itself full advised; now, therefore it is
 3
     hereby ORDERED that Defendant Happy Hour Media Group, LLC’s Motion to Dismiss is
 4
     GRANTED and all claims against Happy Hour Media Group, LLC, in the Plaintiffs’ Complaint
 5
     are DISMISSED WITH PREJUDICE.
 6

 7
            DATED this ___ day of October, 2023.
 8
 9
                                                        ____________________________________
10                                                        THE HONORABLE JAMES L. ROBART

11

12
     Presented By:
13
     DATED this 5th day of October, 2023.
14

15   CORR CRONIN LLP

16
     By: s/ Jack M. Lovejoy
17   Jack M. Lovejoy, WSBA No. 36962
     Maia R. Robbins, WSBA No. 54451
18
     1015 Second Avenue, 10th Floor
19   Seattle, Washington 98104
     Phone: (206) 625-8600
20   jlovejoy@corrcronin.com
     mrobbins@corrcronin.com
21
     Attorneys for Defendant Happy Hour Media Group, LLC
22

23

24
25


        [PROPOSED] ORDER GRANTING HAPPY HOUR                                        CORR CRONIN LLP
        MEDIA GROUP, LLC’S MOTION TO DISMISS - 2                               1015 Second Avenue, 10th Floor
                                                                                 Seattle, Washington 98104
                                                                                     Tel (206) 625-8600
                                                                                     Fax (206) 625-0900
                      Case 2:23-cv-00630-JLR Document 32-1 Filed 10/05/23 Page 3 of 3




     1
                                              CERTIFICATE OF SERVICE
     2

     3               I hereby certify that on October 5, 2023, I caused the foregoing document to be

     4        electronically filed with the Clerk of the Court using the CM/ECF system, which will send

     5        notification of such filing to all counsel of record.

     6                                                       s/ Wen Cruz
                                                             Wen Cruz
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                  [PROPOSED] ORDER GRANTING HAPPY HOUR                                   CORR CRONIN LLP
                  MEDIA GROUP, LLC’S MOTION TO DISMISS - 3                          1015 Second Avenue, 10th Floor
                                                                                      Seattle, Washington 98104
                                                                                          Tel (206) 625-8600
                                                                                          Fax (206) 625-0900
